Case 1:25-cv-00156-JL-TSM   Document 5-8   Filed 04/18/25   Page 1 of 5




 EXHIBIT E
     Case 1:25-cv-00156-JL-TSM           Document 5-8        Filed 04/18/25    Page 2 of 5




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE

 MANIKANTA PASULA, et al.,

                     Plaintiffs,

                         v.
                                                     Case No.
 U.S. DEPARTMENT OF HOMELAND
 SECURITY, et al,

                   Defendants.


                    DECLARATION OF LIKHITH BABU GORRELA

I, Likhith Babu Gorrela, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      My name is Likhith Babu Gorrela. I am over the age of 18 and am competent to

testify regarding the matters described below.

       2.      I am an Indian citizen currently living in New Hampshire.

       3.      On August 19, 2023, I came to the United States on an F-1 student visa. I initially

got a visa for the University of New Haven for its Master’s program in Supply Chain Management.

However, I transferred my studies to Rivier University to obtain a Master’s degree in Computers

and Information Systems.

       4.      I am currently pursuing my Master’s degree in Computer and Information Systems

at Rivier University, where I have maintained a GPA of 3.6 through consistent dedication and

academic integrity. I am in the final stage of my program, with only one course remaining and a

few classes left to attend before I complete all degree requirements.

       5.      My official graduation date is May 20, 2025. In preparation for post-completion

practical training and to continue contributing to my field in the United States, I have recently

submitted my application for Optional Practical Training (OPT). My goal is to gain valuable real-

                                                 1
     Case 1:25-cv-00156-JL-TSM            Document 5-8        Filed 04/18/25      Page 3 of 5




world experience in my area of study following the successful completion of my degree.

       6.      I have maintained F-1 student status since arriving in the United States in August

2023. However, on April 4, 2025, my SEVIS record was terminated due to what was labeled as

involvement in criminal activity. However, I did not receive any notice or explanation as to why

my criminal issue (driving without a valid license) was sufficient to terminate my student status.

       7.      For my visa, I received an email from the U.S. Embassy in India that my visa was

revoked.

       8.       On May 30, 2024, while driving my personal vehicle, I was pulled over by a

police officer because my headlights were unknowingly turned off in New Hampshire. At the

time, I did not possess a valid U.S. driver’s license and presented my International Driving

Permit. I was subsequently arrested and charged with a Class B misdemeanor under the

charge: License Required – Operating a Vehicle Without a Valid License.

       9.      It is important to emphasize that this incident was entirely unintentional and

occurred without any malicious intent or willful violation of the law. I did not commit any

deliberate wrongdoing, nor did I endanger public safety. The charge stemmed solely from a

misunderstanding of licensing requirements, which I rectified immediately by obtaining a valid

U.S. driver’s license soon after the incident.

       10.     Shortly after the incident, I applied for and obtained a valid U.S. driver’s license. I

appeared in court, and the case was dismissed without any conviction, fine, or probation. The final

court disposition reflects that the case was nolle prosequi (not prosecuted).

       11.     Despite the dismissal of the criminal charge, my SEVIS record was terminated. It

appears that the decision to terminate my SEVIS status was made without due consideration of the

facts, including the dismissal of the charge. I was nearing the completion of my degree, with only



                                                 2
     Case 1:25-cv-00156-JL-TSM            Document 5-8        Filed 04/18/25      Page 4 of 5




one subject remaining to graduate. This termination has placed me under extreme stress, both

emotionally and financially, as I have also taken an education loan of 40 lakhs INR ($46,537) from

India.

         12.   With this termination, I cannot finish my studies and obtain the Master’s degree. I

fear that this termination has jeopardized my academic path and career on top of the fear that I will

be arrested and sent to other parts of the country. Further, this termination will not allow me to

apply for the Optional Practical Training (OPT) to gain practical experience even if I can graduate

from the school.

         13.   I have maintained my student status through my F-1 student status including

attending full course of studies.

         14.   I have not engaged in any unauthorized employment in the United States.

         15.   I have been truthful to U.S. government officials.

         16.   I have not been convicted of any crime of violence in the United States.

         17.   I am not aware that the U.S. government put me in the federal register to terminate

my F-1 student status.

         18.   I want to be a named plaintiff in this case. I understand that, as a class

representative, it would be my responsibility to represent the interests of all the class members in

this lawsuit, and not just my own personal interests. I also understand the need to stay informed

about what is happening in the case.

         19.   I understand that I agree to represent many students and graduates like me.




                                                 3
     Case 1:25-cv-00156-JL-TSM            Document 5-8        Filed 04/18/25     Page 5 of 5




I declare under the penalty of perjury that the foregoing is true and correct.


___________________________
Likhith Babu Gorrela
Executed on April 15, 2025.




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